Case 1:17-cv-O4179-DLC Document 106 Filed 04/11/18 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  

  
  

  
  
     
 

 

______________________________________ X
' l?cvél?Q(DLC)
SECURITIES & EXCHANGE COMMISSION,
ORDER
Plaintiffs,
_V_ "»!`1";`~"'.::"“-~=-»-~»----_.,
FE£;_§¢:: §§LQ'N§““""::“““
ALPINE SECURITIES CORPORATION, _&,..31..??,?"“_¥~'; Yr"_` `_]
*\wi~@liv§a;?% § v
D e f e n dan t . HEJ§"S§!R Ui`*€§;:`:"\§& l` .I Y HL;§:?`
. soo a " “` " "9
-------------------------------------- X M.,__
'Zof$

 

 

 

DENISE COTE, District Judge:
On March 23, 2018, the SEC moved to quash a notice of
deposition pursuant to Rule 30(b)(6), Fed. R. Civ. P., served by

defendant Aipine Securities Corporation (“Alpine”) and dated
March 13. Alpine opposed the SEC's motion by letter filed March
2?, and a telephone conference was held on March 30. Also on
March 30, the Court issued an Opinion resolving the SEC's
partial summary judgment motion and Alpine’s motion for summary
judgment and for judgment on the pleadings. Accordingly, it is
hereby

ORDERED that the SEC’s motion to quash the March 13 notice
of deposition is granted.

IT IS FURTHER ORDERED that Alpine is directed to review the
March 30 Opinion and the transcript cf the March 30 conference.
If Alpine believes that it is entitled to discovery from the

SEC, it may confer with the SEC to discuss the scope of any such

 

Case 1:17-cv-O4179-DLC Document 106 Filed 04/11/18 Page 2 of 2

discovery. If the parties are unable to agree on this issue,
they may submit letters of no more than two pages to the Court

outlining their positions and areas of dispute.

SO ORDERED:

Dated: New York, New York
April ll, 2018

dmi jt

D NISE COTE
United States District Judge

 

